Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 1 of 12 PageID #: 839
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 2 of 12 PageID #: 840
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 3 of 12 PageID #: 841
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 4 of 12 PageID #: 842
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 5 of 12 PageID #: 843
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 6 of 12 PageID #: 844
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 7 of 12 PageID #: 845
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 8 of 12 PageID #: 846
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 9 of 12 PageID #: 847
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 10 of 12 PageID #: 848
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 11 of 12 PageID #: 849
Case 2:02-cr-00767-ADS   Document 300   Filed 08/30/05   Page 12 of 12 PageID #: 850
